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                                               No. 22-4541

                                                   In the
                               United States Court of Appeals
                                          for the Fourth Circuit

                                             ──────────

                                   UNITED STATES OF AMERICA,
                                                          Appellee,
                                              v.

                                       DAVID KEITH NUTTER,
                                                                      Appellant.

                                         ───────────
                            Appeal from the United States District Court
                             for the Southern District of West Virginia
                        The Honorable Irene C. Berger, United States District Judge
                                         ───────────

                            Brief of Appellee the United States of America

                                            ───────────

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                                STATEMENT OF JURISDICTION

              Defendant–Appellant David Keith Nutter appeals from a judgment of

        conviction in a criminal case. The district court had jurisdiction under 18 U.S.C. §

        3231 and entered judgment on September 15, 2022. JA187. Nutter filed a timely

        notice of appeal on September 21, 2022. JA195; see Fed. R. App. P. 4(b)(1)(A)(i). This

        Court has jurisdiction to review the judgment of conviction under 28 U.S.C. § 1291

        and 18 U.S.C. § 3742.

                                       ISSUE PRESENTED

              Whether 18 U.S.C. § 922(g)(9)’s prohibition on possession of a firearm by a

        person who has been convicted of domestic violence violates the Second Amendment.

                                    STATEMENT OF THE CASE

              A.     Prior domestic violence convictions and offense conduct.

              In 1998, Nutter was convicted in Stark County, Ohio, of domestic violence

        against a family or household member, in violation of Ohio Rev. Code Ann. §

        2919.25, after striking and causing physical harm to his then-sixteen-year-old

        stepdaughter. JA39. In 2002, Nutter was convicted again in Stark County, Ohio, of

        domestic violence against a family or household member under Ohio Rev. Code Ann.

        § 2919.25, as well as child abuse under Ohio Rev. Code Ann. § 2919.22, after striking

        the seven-month-old child of his girlfriend, with whom he resided, in the chest and

        upper leg area when he threw a full can of beer. JA40. He then pushed his girlfriend
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        with enough force to leave a red bruise on her sternum and cause her to fall back onto

        her other child. JA40.

              In July 2019, the Nicholas County Sheriff’s Department began investigating

        Nutter after interviewing two minors who had run away from home. JA124. The

        minors told police that a friend took them to Nutter’s home on the Fourth of July.

        JA124. The minors reported that they consumed alcohol supplied by Nutter while at

        his house and Nutter recklessly waved around loaded firearms while intoxicated.

        JA124. He then fired the guns behind the house before his daughter hid the guns

        from him. JA124. Deputies executed a search warrant for Nutter’s residence on July

        6, 2019, and seized two rifles, two shotguns, three muzzleloader pistols, and assorted

        ammunition. JA124.

              B.     Indictment, pretrial motions, and guilty plea.

              A grand jury charged Nutter with one count of possession of a firearm by a

        person previously convicted of misdemeanor crimes of domestic violence, in violation

        of 18 U.S.C. § 922(g)(9), alleging that Nutter possessed four firearms. JA8-9.

              On May 2, 2022, Nutter filed a motion to dismiss the Indictment arguing, in

        part, that § 922(g)(9) was unconstitutional as applied to him due to the age of his prior

        convictions. JA10-15. The district court denied the motion to dismiss in a

        memorandum opinion and order dated May 17, 2022. JA49-57. The district court


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        applied then-binding Fourth Circuit precedent and held, among other things, that §

        922(g)(9) was constitutional as applied to Nutter. JA55-57. In so holding, the district

        court applied intermediate scrutiny and concluded that the government had carried

        its burden of establishing that reducing domestic gun violence is a substantial

        government objective. JA55-57.

              On June 9, 2022, Nutter pleaded guilty to a violation of § 922(g)(9) with a

        conditional plea agreement preserving his right to appeal the district court’s ruling on

        the motion to dismiss. JA58-101. Nutter admitted that he possessed the four firearms

        on July 6, 2019, and that he knew he had been convicted of prior misdemeanor crimes

        of domestic violence. JA100-101.

              C.     Post-Bruen litigation and sentencing.

              Two weeks later and before judgment was entered in Nutter’s case, the United

        States Supreme Court issued its decision in New York State Rifle & Pistol Ass'n, Inc. v.

        Bruen, 142 S. Ct. 2111 (2022). Among other things, Bruen held that means-end

        scrutiny, such as strict or intermediate scrutiny, does not apply in the Second

        Amendment context. See id. at 2127-30. Instead, when a firearms regulation burdens

        Second Amendment rights, “the government must demonstrate that the regulation is

        consistent with this Nation’s historical tradition of firearm regulation.” Id. at 2126.




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              The Bruen decision prompted Nutter to file a second motion to dismiss asking

        the district court to reconsider its prior order and find that § 922(g)(9) was

        unconstitutional now that the intermediate scrutiny analysis applied previously had

        been abrogated. JA102-105.

              On August 19, 2022, the district court denied Nutter’s “Bruen-based” motion

        to dismiss in a memorandum opinion and order. JA122-137. The district court held

        that the prohibition on possession of a firearm by domestic abusers, like Nutter, does

        not violate the Second Amendment. JA129-137. Because “the historical record”

        reflected “significant regulation of firearms designed to ensure responsible and safe

        gun ownership,” the prohibition on possession of firearms by domestic abusers fit

        “easily” within the legal framework designed to keep firearms away from dangerous

        people. JA132-133.

              Referring to the text of the Second Amendment, the district court found that

        “[i]ndividuals who pose a threat to the safety of their families, and potentially others,

        would not have been welcome as part of a ‘well-regulated’ militia and permitting them

        to possess firearms runs starkly counter to public safety goals of the Second

        Amendment.” JA133.

              The district court reasoned that “key” to the historical understanding of the

        Second Amendment was the “distinction between regulations that impact everyone


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        and those that impact discrete groups found to pose a danger to the public.” JA134.

        A law prohibiting a domestic abuser from possessing a firearm restricted “only those

        found, following due process, to pose a special danger of misusing firearms based on

        their own actions.” JA135. Nothing in the historical record suggested a popular

        understanding of the Second Amendment at the time of the founding that “extended

        to preserving gun rights for groups who pose a particular risk of using firearms against

        innocent people.” JA137.

               On September 15, 2022, the district court sentenced Nutter to 12 months of

        imprisonment, to be followed by three years of supervised release. JA138-177; JA187-

        189.

                                    SUMMARY OF ARGUMENT

               Section 922(g)(9) remains constitutional after Bruen. That decision clarified

        that, where a regulation burdens conduct within the scope of the Second

        Amendment’s plain language, the government must show that the challenged

        regulation is consistent with the nation’s historical tradition of firearm regulation.

        Section 922(g)(9) is constitutional under that test.

               The conduct burdened by § 922(g)(9)—that is, the possession of firearms by

        those previously convicted of a misdemeanor crime of domestic violence—does not fall

        within the scope of the Second Amendment right, which protects only the right of


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        law-abiding, responsible citizens to possess firearms for self-defense. Individuals

        subject to § 922(g)(9) are not responsible or law-abiding as they have been previously

        convicted, after due process, of the use of physical force or threatened use of a deadly

        weapon in a domestic relationship. Such conduct will always show lack of

        responsibility and a dangerous, violent unwillingness to abide by the law. That is

        certainly the case here, where Nutter’s prior convictions involved striking and injuring

        at least two children and violently pushing his girlfriend. Nutter does not fall within

        “the people” protected by the text of the Second Amendment, and thus he has no

        right at all that is burdened by § 922(g)(9).

               Moreover, even if those convicted of misdemeanor crimes of domestic violence

        are presumed to fall under the protections of the Second Amendment, the

        disarmament of such individuals is consistent with the historical tradition. There is a

        long tradition both in England and in the United States of prohibiting firearm

        possession by those who pose a threat to the community. Section 922(g)(9) is

        analogous to those laws both in the burden it imposes and in the reasons for that

        burden. Section 922(g)(9) is also analogous to historical surety laws, which allowed a

        person to obtain a “surety of the peace,” including potential disarmament, when

        another person posed a threat to his or her safety. Because § 922(g)(9) is consistent

        with the historical tradition, it is constitutional.


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                                            ARGUMENT

              Section 922(g)(9) remains constitutional under the framework
              established in Bruen.

              A.     Standard of Review

              “This court reviews a challenge to the constitutionality of a federal statute de

        novo.” United States v. Malloy, 568 F.3d 166, 171 (4th Cir. 2009). Because Nutter argues

        that § 922(g)(9) is unconstitutional on its face, he “must establish that no set of

        circumstances exists under which the Act would be valid.” United States v. Salerno, 481

        U.S. 739, 745 (1987). As the party challenging the statute’s constitutionality, he bears

        the initial burden of showing that his conduct is protected by the Second

        Amendment. See Bruen, 142 S. Ct. at 2130 (analogizing to the First Amendment);

        Clark v. Community for Creative Non-Violence, 468 U.S. 288, 293 n.5 (1984) (“Although

        it is common to place the burden upon the Government to justify impingements on

        First Amendment interests, it is the obligation of the person desiring to engage in

        assertedly expressive conduct to demonstrate that the First Amendment even

        applies.”). And, even if Nutter meets this burden and the burden shifts to the

        government of showing that § 922(g)(9) is consistent with historical firearm

        regulations, see Bruen, 142 S. Ct. at 2130, the government can defeat Nutter’s facial

        challenge by showing that the statute is constitutional in any of its applications. See



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        Bucklew v. Precythe, 139 S. Ct. 1112, 1127 (2019) (a facial challenge requires showing

        that the law “is unconstitutional in all its applications”).

               B. The Bruen Decision

                1.    This Court previously upheld § 922(g)(9) under the now invalidated second step
                      of its two-step approach.

               In District of Columbia v. Heller, 554 U.S. 570, 635 (2008), the Supreme Court

        held that the Second Amendment protects the right of “law-abiding, responsible

        citizens” to keep firearms in their homes for self-defense. And in McDonald v. Chicago,

        561 U.S. 742 (2010), the Court held that this right applies to the states through the

        Fourteenth Amendment.

               After Heller, this Court addressed the constitutionality of § 922(g)(9) and

        adopted a “two-part approach to Second Amendment claims.” United States v. Chester,

        628 F.3d 673, 680 (4th Cir. 2010) ("Chester II").1 Under the first step, the Court

        undertook a “historical inquiry” that asked “whether the conduct at issue was

        understood to be within the scope of the right at the time of ratification.” Id. “If the



        1
          Before Chester II, the Fourth Circuit remanded a district court decision upholding
        the constitutionality of § 922(g)(9) when it failed to determine the most appropriate
        level of scrutiny and apply it to its analysis. See United States v. Chester, 367 F. App'x
        392, 393–94 (4th Cir.), opinion vacated on reh'g, 628 F.3d 673 (4th Cir. 2010) (Chester
        I). However, Chester I was vacated upon rehearing in Chester II. See Chester, 628 F.3d
        at 673.

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        challenged regulation burden[ed] conduct that was within the scope of the Second

        Amendment as historically understood,” the Court “move[d] to the second step of

        applying an appropriate form of means-end scrutiny.” Id.

              In Chester II, this Court was not presented with historical evidence that persons

        convicted of a domestic violence misdemeanor were wholly unprotected by the Second

        Amendment. Id. at 681. Therefore, this Court was unable to determine whether “the

        Second Amendment, as historically understood, did not apply to persons convicted

        of domestic violence misdemeanors.” Id. Absent such historical evidence, this Court

        assumed—but explicitly did not decide—that Chester’s “Second Amendment rights

        [we]re intact and that he [wa]s entitled to some measure of Second Amendment

        protection to keep and possess firearms in his home for self-defense.” Id. at 681–82.

        This Court then went on to establish the appropriate post-Heller standard of review

        for Second Amendment challenges (intermediate scrutiny) and remanded the case to

        apply that standard. Id. at 683.

              The Chester case returned to this Court in 2013, and this Court affirmed a

        district court decision upholding the constitutionality of § 922(g)(9) after applying

        intermediate scrutiny to the defendant’s challenge. United States v. Chester, 514 F.

        App’x 393, 394 (4th Cir. 2013) (“Chester III”). Like in Chester II, this Court did not

        conduct a “historical inquiry.” See id.

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                 Before Chester III, this Court had already held in United States v. Staten, 666

        F.3d 154 (4th Cir. 2011) that § 922(g)(9) reasonably fit a substantial government

        objective and thus survived intermediate scrutiny. Similar to Chester II, this Court in

        Staten did not consider whether possession of a firearm in the home by a domestic

        violence misdemeanant is protected by the Second Amendment as historically

        understood even though the government had presented evidence of laws from

        England and the colonies prior to the American Revolution in support of the

        proposition. See id. at 160. Instead, this Court determined that the “historical inquiry”

        was unnecessary because the government had carried its burden that § 922(g)(9)

        satisfies the intermediate scrutiny standard. See id. at 160-68.2




        2
            The Fourth Circuit has expressly recognized that certain groups of non-law-abiding
            individuals (e.g., felons, violent criminals, undocumented aliens) are not entitled to
            Second Amendment protection. See, e.g., United States v. Carpio-Leon, 701 F.3d 974,
            979 (4th Cir. 2012) (“[I]llegal aliens do not belong to the class of law-abiding
            members of the political community to whom the Second Amendment gives
            protection.”); United States v. Moore, 666 F.3d 313, 319 (4th Cir. 2012) (“However
            the Supreme Court may come to define a ‘law-abiding responsible citizen’ for Second
            Amendment purposes, Moore surely would not fall within that group” because of
            his prior convictions for robbery and assault). These decisions did not rely on the
            means-end scrutiny test, but rather are consistent with the text-and-history analysis
            under Bruen.
                                                      10
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                2.    Bruen invalidated the second step of this Court’s two-step approach and
                      clarified the standard for analyzing Second Amendment challenges.

               In Bruen, the Supreme Court invalidated the means-end scrutiny previously

        applied by this Court and clarified the standard for analyzing Second Amendment

        constitutional challenges. The Supreme Court held that the Second Amendment

        protects the right of “ordinary, law-abiding citizens” to “carry a handgun for self-

        defense outside the home.” New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct.

        2111, 2122 (2022). Bruen observed that, after Heller, the courts of appeals had

        “coalesced around a ‘two-step’ framework for analyzing Second Amendment

        challenges that combines history with means-end scrutiny.” Id. at 2125. Bruen observed

        that “[s]tep one of the predominant framework is broadly consistent with Heller, which

        demands a test rooted in the Second Amendment’s text, as informed by history.” Id.

        at 2127. But Bruen “decline[d] to adopt” the second step of that framework, holding

        that “Heller and McDonald do not support applying means-end scrutiny in the Second

        Amendment context.” Id. at 2126-27. Instead, a regulation that burdens the right of

        ordinary, law-abiding citizens to keep and carry firearms for self-defense passes

        constitutional muster only if it is consistent with “the historical tradition that delimits

        the outer bounds of the right to keep and bear arms.” Id. at 2127.

               Bruen “unequivocally overrule[d]” the second step of this Court’s two-step

        Second Amendment analysis. Bruen held that the “predominant framework[’s]”
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        second step “is one step too many” and “is inconsistent with Heller’s historical

        approach and its rejection of means-end scrutiny.” Bruen, 142 S. Ct. at 2127, 2129.

        Thus, Bruen abrogates the analysis set forth in Chester II and applied in Staten to

        uphold § 922(g)(9), and this Court must re-evaluate whether § 922(g)(9) is

        constitutional under the test that Bruen articulates.

              While Bruen struck down the means-end scrutiny applied by courts after Heller,

        it left much of Heller and McDonald intact. In Heller, the Supreme Court held that the

        Second Amendment protects the right of “law-abiding, responsible citizens” to keep

        firearms in their homes for self-defense. Heller, 554 U.S. at 635. But Heller clarified

        that, “[l]ike most rights, the right secured by the Second Amendment is not unlimited”

        and is “not a right to keep and carry any weapon whatsoever in any manner whatsoever

        and for whatever purpose.” Id. at 626. Heller said that “nothing in [its] opinion should

        be taken to cast doubt” on certain “presumptively lawful regulatory measures,” such

        as “longstanding prohibitions on the possession of firearms by felons and the mentally

        ill,” “laws forbidding the carrying of firearms in sensitive places,” and “laws imposing

        conditions and qualifications on the commercial sale of arms.” Id. at 626-27 & n.26.

        In McDonald, a plurality of the Court again emphasized that applying the amendment

        to the states “does not imperil every law regulating firearms.” McDonald, 561 U.S. at

        786 (opinion of Alito, J.).

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              Bruen does not call into question Heller’s statements regarding permissible

        regulations on firearm possession. Justice Alito explained in concurrence that Bruen

        does not “disturb[ ] anything that [the Court] said in Heller or McDonald . . . about

        restrictions that may be imposed on the possession or carrying of guns.” Bruen, 142

        S. Ct. at 2157 (Alito. J., concurring). While Bruen struck down a New York license-

        to-carry law that “prevent[ed] law-abiding citizens with ordinary self-defense needs

        from exercising their right to keep and bear arms,” it did not render the protections

        of the Second Amendment limitless. Id. at 2156. As Justice Kavanaugh (joined by the

        Chief Justice) emphasized in concurrence, “[p]roperly interpreted, the Second

        Amendment allows a ‘variety’ of gun regulations.” Id. at 2162 (Kavanaugh, J.,

        concurring) (quoting Heller, 554 U.S. at 636).

              Rather than abrogating Heller and McDonald, Bruen simply clarified the

        “standard for applying the Second Amendment.” Bruen, 142 S. Ct. at 2129. First,

        “[w]hen the Second Amendment’s plain text covers an individual’s conduct, the

        Constitution presumptively protects that conduct.” Id. at 2129-30. Second, when the

        conduct is protected, “[t]he government must . . . justify its regulation by

        demonstrating that it is consistent with the Nation’s historical tradition of firearm

        regulation.” Id. at 2130.




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              The Court explained that, “[i]n some cases,” the inquiry into “whether modern

        firearms regulations are consistent with the Second Amendment’s text and historical

        understanding” will “be fairly straightforward.” Bruen, 142 S. Ct. at 2131. “For

        instance, when a challenged regulation addresses a general societal problem that has

        persisted since the 18th century, the lack of a distinctly similar historical regulation

        addressing that problem is relevant evidence that the challenged regulation is

        inconsistent with the Second Amendment.” Id. “Likewise,” the Court said, “if earlier

        generations addressed the societal problem, but did so through materially different

        means, that also could be evidence that a modern regulation is unconstitutional.” Id.

              Bruen recognized, however, that “[t]he regulatory challenges posed by firearms

        today are not always the same as those that preoccupied the Founders in 1791.” Bruen,

        142 S. Ct. at 2132. Thus, when considering “modern regulations that were

        unimaginable at the founding,” the historical inquiry will “often involve reasoning by

        analogy.” Id. In “determining whether a historical regulation is a proper analogue for

        a distinctly modern firearm regulation,” courts must determine “whether the two

        regulations are relevantly similar,” which will involve considering “how and why the

        regulations burden a law-abiding citizen’s right to armed self-defense.” Id. at 2132-33

        (quotations omitted).




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              The Court emphasized that this “analogical reasoning . . . is neither a regulatory

        straightjacket nor a regulatory blank check.” Bruen, 142 S. Ct. at 2133. “[A]nalogical

        reasoning requires only that the government identify a well-established and

        representative historical analogue, not a historical twin.” Id. “[E]ven if a modern-day

        regulation is not a dead ringer for historical precursors, it still may be analogous

        enough to pass constitutional muster.” Id.

                3.   Federal courts have unanimously held that § 922(g)(9) is constitutional under
                     Bruen.

              While no circuit court has yet addressed the impact of Bruen on § 922(g)(9),

        every district court considering the issue has found § 922(g)(9) to remain

        constitutional. See United States v. King, Case No. 5:22-cr-488, Dkt. No. 33 (W.D. Okla.

        Mar. 9, 2023); United States v. Hammond, Case No. 4:22-cr-177, Dkt. No. 38 (S.D. Iowa

        Feb. 15, 2023); United States v. Farley, Case No. 3:22-cr-30022, Dkt. No. 23 (C.D. Ill.

        Feb. 8, 2023); United States v. Gleaves, Case No. 3:22-cr-14, Dkt. No. 116 (M.D. Tenn.

        Feb. 6, 2023); United States v. Martinez, Case No. 3:17-cr-257, Dkt. No. 121 (N.D. Cal.

        Feb. 2, 2023); United States v. Bernard, Case No. 1:22-cr-3, 2022 WL 17416681 (N.D.

        Iowa Dec. 5, 2022); United States v. Jackson, No. 5:22-cr-59, 2022 WL 3582504 (W.D.

        Okla. Aug. 19, 2022).




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              C.     Post-Bruen Analysis of § 922(g)(9)

                1.   Nutter is not part of the law-abiding populace protected by the Second
                     Amendment.

                     a. The Second Amendment protects the rights of law-abiding, responsible
                         citizens.

              Heller defined the right to bear arms as belonging to “law-abiding, responsible”

        citizens, Heller, 554 U.S. at 635, a category which clearly excludes those convicted of

        committing violent crimes against their family members.                 Bruen echoed that

        definition, stating no fewer than fourteen times that the Second Amendment protects

        the rights of “law-abiding” citizens. Bruen, 142 S. Ct. at 2122, 2125, 2131, 2133, 2134,

        2138, 2150, 2156. And, as noted above, a majority of the justices took pains to

        emphasize that Bruen did nothing to upset Heller’s and McDonald’s reassurances that

        certain firearms regulations, such as prohibitions on the possession of firearms by

        felons, are constitutional. See id. at 2157 (Alito, J., concurring) (“Nor have we

        disturbed anything that we said in Heller or McDonald . . ., about restrictions that may

        be imposed on the possession or carrying of guns.”); id. at 2162 (Kavanaugh, J., joined

        by Roberts, C.J., concurring) (“Properly interpreted, the Second Amendment allows a

        ‘variety’ of gun regulations”); id. at 2189 (Breyer, J., joined by Sotomayor and Kagan,

        JJ., dissenting) (“I understand the Court’s opinion today to cast no doubt on that




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        aspect of Heller’s holding” describing certain presumptively lawful category-based

        restrictions).

               Moreover, Bruen’s endorsement of the “shall-issue” schemes adopted by 43

        states provides further evidence that restrictions based on objective criteria including

        criminal histories—such as § 922(g)(9)—do not infringe on Second Amendment rights.

        Bruen, 142 S. Ct. at 2138 & n.9; id. at 2162 (Kavanaugh, J., concurring). Bruen

        indicates that these regimes denying the right to carry to persons previously convicted

        of domestic violence are constitutional. The Court observed that “these shall-issue

        regimes, which often require applicants to undergo a background check . . . , are

        designed to ensure only that those bearing arms in the jurisdiction are, in fact, ‘law

        abiding, responsible citizens.’” Bruen, 142 S. Ct. at 2138 n.9 (quoting Heller, 554 U.S.

        at 635). As Justice Kavanaugh explained in his concurrence, the shall-issue regimes

        “are constitutionally permissible” even though they “may require a license applicant

        to undergo fingerprinting, a background check, a mental health records check, and

        training in firearms handling and in laws regarding the use of force, among other

        possible requirements.” Id. at 2162 (Kavanaugh, J., concurring); see id. (“Going

        forward, therefore, the 43 States that employ objective shall-issue licensing regimes . . .

        may continue to do so.”). Bruen therefore indicates that the right to carry firearms does

        not extend to persons previously convicted of domestic violence misdemeanors, as a


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        permissible background check would reveal that such a person was not a law-abiding

        person. Indeed, if Nutter were to apply for a carry permit in West Virginia, the

        resulting background check would flag his criminal record and result in a denial. W.

        Va. Code § 61-7-4. (And, although the State permits carrying a firearm without a

        license, that entitlement does not extend to residents who have sustained a prior

        domestic-violence conviction. W. Va. Code § 61-7-7.)

                     b. Those who have been convicted of a misdemeanor crime of domestic violence
                         are not law-abiding citizens protected by the Second Amendment.

              Persons who have previously been convicted of misdemeanor crimes of

        domestic violence under § 922(g)(9) are not law-abiding, responsible citizens who fall

        within the scope of the Second Amendment, as authoritatively interpreted in Heller

        and Bruen. Section 922(g)(9) applies only to those who have previously been convicted,

        after due process, of a “misdemeanor crime of domestic violence.” § 922(g)(9). A

        “misdemeanor crime of domestic violence” is defined as an offense that “is a

        misdemeanor under Federal, State, or Tribal law” and “has, as an element, the use or

        attempted use of physical force, or the threatened use of a deadly weapon, committed

        by a current or former spouse, parent, or guardian of the victim, . . ., by a person who

        is cohabitating with or has cohabitated with the victim as a spouse, parent, or

        guardian, by a person similarly situated to a spouse, parent, or guardian of the victim,

        or by a person who has a current or recent former dating relationship with the victim.”
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        18 U.S.C. § 921(a)(33)(A); Chester II, 628 F.3d at 677 n.4. A person who commits

        such a crime of domestic violence is not a “law-abiding” citizen and can hardly be

        termed “responsible.”

                     c. Nutter is not a law-abiding person.

              The facts of this case are illustrative. Nutter’s prior convictions for domestic

        violence against a family or household member involved striking and causing physical

        harm to his then-sixteen-year-old stepdaughter, throwing a full can of beer that struck

        his live-in girlfriend’s seven-month-old child in the chest and upper leg area, and

        pushing his girlfriend with enough force to cause her to fall backwards and leave a red

        bruise on her sternum. This is not the conduct of a person who is law-abiding, and

        such a person can easily be described as dangerous.

              Further, Nutter’s conduct leading to his § 922(g)(9) conviction in this case was

        clearly irresponsible and dangerous. A search warrant was executed on Nutter’s

        residence after runaway minors told police that they saw Nutter recklessly waving

        around loaded firearms and shooting the firearms behind his residence while

        intoxicated. They also stated that he supplied them with alcohol while they were at his

        home. Nutter is simply not a “law-abiding, responsible citizen” whose firearm

        possession is protected by the Second Amendment.




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               In sum, because § 922(g)(9)’s prohibition against possession of firearms

        requires that the person had previously been convicted, after due process, of the use

        of physical force or threatened use of a deadly weapon against a person covered by the

        definition set forth in § 921(a)(33)(A), people subject to § 922(g)(9) are not “law-

        abiding, responsible citizens” under Heller and Bruen. Thus, Nutter cannot succeed in

        his facial challenge, which requires him to show that the statute is “unconstitutional

        in all its applications.” Bucklew, 139 S. Ct. at 1127. This Court should uphold the

        statute on that basis and need not consider whether the government can show that

        the statute is consistent with historical tradition.

                2. In any event, § 922(g)(9) is consistent with the historical tradition of firearm
                   regulation.

               Even if everyone subject to § 922(g)(9) falls within the scope of the Second

        Amendment right, the statute is constitutional because it is “consistent with this

        Nation’s historical tradition of firearm regulation.” Bruen, 142 S. Ct. at 2126.

        Specifically, § 922(g)(9) is analogous to three types of historical laws: (1) historical laws

        disarming people for crimes committed; (2) statutes categorically disarming dangerous

        persons; and (3) surety laws that individually limit firearm possession. Section

        922(g)(9)’s prohibition on those who have been convicted criminally for domestic

        violence thus sits at the intersection of the longstanding history of the prevention of

        domestic violence and the equally longstanding history of disarming those who have
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        committed crimes and pose a danger to others. Those who have been convicted of a

        crime of domestic violence pose a specific type of danger that has been regulated for

        centuries, as described below. The disarming of those convicted of misdemeanor

        crimes of domestic violence is constitutional under Bruen.

                     a. Section 922(g)(9) is analogous to historical laws disarming people for crimes
                        committed.

              Misdemeanor crimes of domestic violence, while not themselves felonies, are

        sufficiently similar to historical felonies to consider the history of felon disarmament

        as a relevant historical analogue. As a crime that “has, as an element, the use or

        attempted use of physical force, or the threatened use of a deadly weapon,”

        misdemeanor crimes are relevantly similar to the laws addressing disarmament of

        violent felons, particularly those convicted of crimes such as malicious maiming and

        wounding. 18 U.S.C. § 921(a)(33)(A).

              For centuries, felonies have been “the most serious category of crime.” Medina

        v. Whitaker, 913 F.3d 152, 158 (D.C. Cir. 2019). In 1769, Blackstone defined a felony

        as “an offence which occasions a total forfeiture of either lands, or goods, or both, at

        the common law; and to which capital or other punishment may be superadded,

        according to the degree of guilt.” 4 William Blackstone, Commentaries on the Laws of

        England 95 (1st ed. 1769). Blackstone observed that “[t]he idea of felony is so generally



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        connected with that of capital punishment, that we find it hard to separate them.” Id.

        at 98 (capitalization omitted).

               Capital punishment and forfeiture of estate were also commonly authorized

        punishments in the American colonies (and then the states) up to the time of the

        founding. Folajtar v. Attorney General of the U.S., 980 F.3d 897, 904-05 (3d Cir. 2020).

        Capital punishment for felonies was “ubiquit[ous]” in the late eighteenth century and

        was “‘the standard penalty for all serious crimes.’” See Baze v. Rees, 553 U.S. 35, 94

        (2008) (Thomas, J., concurring in the judgment) (quoting Stuart Banner, The Death

        Penalty: An American History 23 (2002)). Indeed, the First Congress (which drafted and

        proposed the Second Amendment) made a variety of felonies punishable by death,

        including treason, murder on federal land, forging or counterfeiting a public security,

        and piracy on the high seas. See An Act for the Punishment of Certain Crimes Against

        the United States, 1 Stat. 112-15 (1790). Many American jurisdictions up through

        the end of the 1700s authorized complete forfeiture of a felon’s estate. See Beth A.

        Colgan, Reviving the Excessive Fines Clause, 102 Cal. L. Rev. 277, 332 & nn.275-276

        (2014) (citing statutes).

               A few examples demonstrate the severe consequences of committing a felony at

        the time. In 1788, just three years before the Second Amendment’s ratification, New

        York passed a law providing for the death penalty for crimes such as burglary, robbery,

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        arson, malicious maiming and wounding, and counterfeiting. 2 Laws of the State of

        New York Passed at the Sessions of the Legislature (1785-1788) at 664-65 (1886). The

        act established that every person convicted of an offense making the person “liable to

        suffer death, shall forfeit to the people of this State, all his, or her goods and chattels,

        and also all such lands, tenements, or hereditaments” the person possessed “at the

        time of any such offence committed, or at any time after.” Id. at 666. For all other

        felonies, the authorized punishment for “the first offence” was a “fine, imprisonment,

        or corporal punishment,” and the punishment “for any second offense or felony

        committed after such first conviction” was “death.” Id. at 665.

               Two years earlier, New York had passed a law severely punishing counterfeiting

        of bills of credit. 2 Laws of the State of New York Passed at the Sessions of the

        Legislature (1785-1788) at 260-61 (1886). The law said a counterfeiter “shall be guilty

        of felony, and being thereof convicted, shall forfeit all his or her estate both real and

        personal to the people of this State, and shall be committed to the bridewell

        [correction house] of the city of New York for life, and there confined to hard labor.”

        Id. at 261. In addition, “to prevent escape,” the defendant was to be “branded on the

        left cheek with the letter C, with a red hot iron.” Id.

               Similarly, in 1777, Virginia adopted a law for the punishment of forgery, which

        the legislature believed had previously “ha[d] not a punishment sufficiently exemplary


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        annexed thereto.” 9 William Waller Hening, Statutes at Large; Being a Collection of

        All the Laws of Virginia, from the First Session of the Legislature 302 (1821). The act

        stated that anyone convicted of forging, counterfeiting, or presenting for payment a

        wide range of forged documents “shall be deemed and holden guilty of felony, shall

        forfeit his whole estate, real and personal, shall receive on his bare back, at the publick

        whipping post, thirty nine lashes, and shall serve on board some armed vessel in the

        service of this commonwealth, without wages, for a term not exceeding seven years.”

        Id. at 302-03.

               Throughout the 1700s, other American colonies punished a variety of crimes

        with death, estate forfeiture, or both. For example, a 1700 Pennsylvania law provided

        that any person convicted of “wilfully firing any man’s house, warehouse, outhouse,

        barn or stable, shall forfeit his or her whole estate to the party suffering, and be

        imprisoned all their lives in the House of Correction at hard labor.” 2 Statutes at

        Large of Pennsylvania from 1682 to 1801 at 12 (1896). A 1705 Pennsylvania law

        provided that a person convicted of rape “shall forfeit all his estate” if unmarried, and

        “one-third part thereof” if married, in addition to receiving 31 lashes and

        imprisonment for “seven years at hard labor.” Id. at 178. As 1715 Maryland law

        provided that anyone convicted of “corruptly embezzling, impairing, razing, or altering

        any will or record” that resulted in injury to another’s estate or inheritance “shall


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        forfeit all his goods and chattels, lands and tenements.” 1 The Laws of Maryland[,]

        With the Charter, The Bill of Rights, the Constitution of the State, and its

        Alterations, The Declaration of Independence, and the Constitution of the United

        States, and its Amendments 79 (1811). A 1743 Rhode Island law provided that any

        person convicted of forging or counterfeiting bills of credit “be adjudged guilty of

        Felony” and “suffer the Pains of Death” and that any person knowingly passing a

        counterfeit bill be imprisoned, pay double damages, and “forfeit the remaining Part

        of his Estate (if any he hath) both real and personal, to and for the Use of the Colony.”

        Acts and Laws of The English Colony of Rhode Island and Providence-Plantations in

        New-England in America 33-34 (1767). And a 1750 Massachusetts law provided that

        rioters who refused to disperse “shall forfeit all their lands and tenements, goods and

        chattles [sic],” in addition to receiving 39 lashes and one year’s imprisonment. 3 Acts

        and Resolves, Public and Private, of the Province of the Massachusetts Bay 545 (1878).

              As the D.C. Circuit has observed, “it is difficult to conclude that the public, in

        1791, would have understood someone facing death and estate forfeiture to be within

        the scope of those entitled to possess arms.” Medina, 913 F.3d at 158. Many of these

        crimes punishable by death or estate forfeiture were non-violent offenses. It is hard to

        imagine that a crime involving force or a deadly weapon would, at the time of the

        Founding, have been considered less worthy of disarmament than the crime of forgery


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        or counterfeiting, which were sometimes punishable by death. “Tradition and history”

        show that “those convicted of felonies are not among those entitled to possess arms”

        under the Second Amendment, and that same history and tradition is appropriately

        considered analogous to those convicted of misdemeanor crimes of domestic violence.

        Id. at 158, 160.

                      b. Section 922(g)(9) is analogous to historical laws that categorically disarmed
                         persons adjudged to be dangerous to the community.

               The right to keep and bear arms, as historically understood, did not extend to

        those who posed a danger to the state or the community. In England, officers of the

        Crown could “seize all arms in the custody or possession of any person” whom they

        “judge[d] dangerous to the Peace of the Kingdom.” Militia Act of 1662, 13 & 14 Car.

        2, c.3, § 13 (1662). And “the act of ‘going armed to terrify the King’s subjects’ was ‘a

        great offence at the common law,’” so long as it was committed with “evil intent or

        malice.” Bruen, 142 S. Ct. at 2141 (brackets and emphasis omitted) (quoting Sir John

        Knight’s Case, 87 Eng. Rep. 75, 76 (K.B. 1686)). Thus, “by the time of American

        independence, England had established a well-practiced tradition of disarming

        dangerous persons—violent persons and disaffected persons perceived as threatening

        to the crown.” Joseph G.S. Greenlee, The Historical Justification for Prohibiting Dangerous

        Persons from Possessing Firearms, 20 Wyo. L. Rev. 249, 261 (2020); see id. at 259-61

        (detailing history).
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                 Similarly in America, the colonies (and later the states) enacted statutes that

        “prohibit[ed] bearing arms in a way that spreads ‘fear’ or ‘terror’ among the people.”3

        Bruen, 142 S. Ct. at 2145. As Bruen observed, such statutes “all but codified the

        existing common law in this regard.” Id. at 2144 n.14 (citing George Webb, The Office

        and Authority of a Justice of Peace 92 (1736)). Several colonies (or states) also passed

        statutes disarming classes of people deemed to be threats, including those unwilling

        to take an oath of allegiance (to the crown and later the states), slaves, and native

        Americans.4 See Nat’l Rifle Assoc. of Amer., Inc. v. Bureau of Alcohol, Tobacco, Firearms &

        Explosives, 700 F.3d 185, 200; Robert H. Churchill, Gun Regulation, the Police Power,

        and the Right to Keep Arms in Early America: The Legal Context of the Second Amendment,

        25 Law & Hist. Rev. 139, 157-60 (2007); Saul Cornell & Nathan DeDino, A Well

        Regulated Right: The Early American Origins of Gun Control, 73 Fordham L. Rev. 487,

        506-08 (2004); Joyce Lee Malcolm, To Keep and Bear Arms, at 140-41 (1994). “In sum,



        3
            See, e.g., Acts and Laws of His Majesty’s Province of New Hampshire in New England
            17 (1771) (statute enacted 1701); Collection of All Such Acts of the General
            Assembly of Virginia 33 (1794) (statute enacted 1786); 2 Laws of the
            Commonwealth of Massachusetts, from November 28, 1780 to February 28, 1807
            p. 653 (1807) (statute enacted Jan. 29, 1795); A Compilation of the Statutes of
            Tennessee of a General and Permanent Nature, from the Commencement of the
            Government to the Present Time 99-100 (1836) (statute enacted 1801).

        4
            Exclusions based on race or religion would, of course, “be unconstitutional today.”
            Kanter v. Barr, 919 F.3d 437, 458 (7th Cir. 2019) (Barrett, J., dissenting).
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        founding-era legislatures categorically disarmed groups whom they judged to be a

        threat to the public safety.” Kanter v. Barr, 919 F.3d 437, 458 (7th Cir. 2019) (Barrett,

        J., dissenting); but see Folajtar v. Attorney General of the U.S., 980 F.3d 897, 909 (3d Cir.

        2020) (“[D]angerousness was one reason to restrict firearm possession, but it hardly

        was the only one.”), cert. denied, 141 S. Ct. 2511 (2021).

               The Second Amendment was therefore adopted against a historical backdrop

        that allowed disarming dangerous persons. In what Heller called a “highly influential”

        proposal, 554 U.S. at 604, a group of Pennsylvania antifederalists advocated for an

        amendment guaranteeing the right to bear arms “unless for crimes committed, or real

        danger of public injury.” United States v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010) (en

        banc) (quoting 2 Bernard Schwartz, The Bill of Rights: A Documentary History 662, 665

        (1971)). Similarly, Samuel Adams offered an amendment at the Massachusetts

        ratifying convention recommending “that the said Constitution be never construed

        to authorize Congress . . . to prevent the people of the United States, who are

        peaceable citizens, from keeping their own arms.” Kanter, 919 F.3d at 454 (Barrett, J.,

        dissenting) (quoting 2 Schwarz, The Bill of Rights 675, 681). These “Second

        Amendment precursors proposed in the state conventions,” Heller, 554 U.S. at 603,

        reflected the well-established common-law principle that dangerous people could be

        disarmed.

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               Bruen explained that “two metrics” are “central” in asking whether a modern

        regulation is “relevantly similar” to an asserted historical analogue: (1) “whether

        modern and historical regulations impose a comparable burden on the right of armed

        self-defense” and (2) “whether that burden is comparably justified.” Bruen, 142 S. Ct.

        at 2132-33. Here, both metrics demonstrate § 922(g)(9)’s constitutionality.

               Under the first metric, the question is “how . . . the regulations burden a law-

        abiding citizen’s right to armed self-defense.” Bruen, 142 S. Ct. at 2133. As explained

        above, in all cases, § 922(g)(9) imposes no burden on a “law-abiding citizen’s right”

        because the conduct leading to a conviction for a misdemeanor crime of domestic

        violence, by its terms, violates the law.

               As to the second metric, “why the regulation[ ]” exists, the historical and

        statistical data indicate that the burdens imposed by § 922(g)(9) and by historical laws

        are “comparably justified.” Bruen, 142 S. Ct. at 2133. Historically, children, the

        mentally ill, and criminals were deemed untrustworthy either because they lacked the

        ability to have “virtue” or because they had established that they lacked it. See Don B.

        Kates, Jr., The Second Amend.: A Dialogue, 49 Law & Contemp. Probs. 143, 146 (Winter

        1986). Likewise, classes of people that fell outside the mainstream of society due to

        their beliefs or based on their race or status, were precluded from bearing arms based

        on their perceived dangerousness. See Churchill, 25 Law & Hist. Rev. at 157-60.


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        While historical laws discriminating based on race or religion are repugnant and

        would be unconstitutional today for reasons having nothing to do with the Second

        Amendment, they nevertheless demonstrate that colonial legislatures “had the power

        and discretion to use status as a basis for disarmament” of those deemed dangerous.

        Range v. Attorney General, 53 F.4th 262, 276 n.18 (3d Cir. 2022) (per curiam), vacated

        upon granting of rehearing en banc, 56 F.4th 992 (Jan. 6, 2023).5

                 Similarly, in modern times, violent domestic misdemeanants are kept from

        bearing arms due to a Congressional determination of their dangerousness. See, e.g.,

        United States v. Belless, 338 F.3d 1063, 1067 (9th Cir. 2003), abrogated on other grounds

        by United States v. Castleman, 572 U.S. 157 (2014) (“The purpose of the statute is to

        keep firearms out of the hands of people whose past violence in domestic relationships

        makes them untrustworthy custodians of deadly force.”); 142 Cong. Rec. 22985,

        22986 (1996) (statement of Sen. Lautenberg) (describing firearm possession by

        domestic batterers is “dangerous”), (statement of Sen. Wellstone) (“[A]ll too often, the

        only difference between a battered woman and a dead woman is the presence of a

        gun.”).




        5
            Though the panel opinion in Range has been vacated pending rehearing en banc, the
            opinion’s historical analysis retains its persuasive value.
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              Thanks to modern social science, the dangerousness of domestic abusers is

        significantly better documented in modern times than was the purported

        dangerousness justifying many historic regulations. Between 1980 and 2008, 41.5%

        of female homicide victims in the United States were killed by their intimate partners

        (defined as spouse, ex-spouse, or boyfriend/girlfriend). Bureau of Justice Statistics,

        Homicide Trends in the United States, 1980-2008, 10 (Table 6) (November 2011),

        available   at    https://bjs.ojp.gov/content/pub/pdf/htus8008.pdf           (permalink:

        https://perma.cc/V4ES-QVM4). “Domestic violence often escalates in severity over

        time, and the presence of a firearm increases the likelihood that it will escalate to

        homicide.” United States v. Castleman, 572 U.S. 157, 160 (2014) (citation omitted). In

        fact, studies have indicated that, where a gun is in the house, a woman is six times

        more likely to be killed than other abused women. Id. (citing Campbell et al., Assessing

        Risk Factors for Intimate Partner Homicide, Nat’l Inst. Of Justice J., No. 250 at 16 (Nov.

        2003)). Additionally, as pointed out by the district court, there is a nexus between

        domestic violence and mass shootings. JA133 (“[A] proven nexus exists between

        intimate partner violence and mass shootings . . .. Domestic violence is a significant

        predictor of mass violence, as evidenced by both available data and an anecdotal

        review of recent attacks.” Natalie Nanasi, Disarming Domestic Abusers, 14 Harv. L. &

        Pol'y Rev. 559, 565 (2020).)


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              Thus, there are strong reasons to disarm those who have been found guilty,

        after due process, of a misdemeanor crime of domestic violence. These justifications

        are just as strong as those supporting the historical prohibitions on firearm possession

        by those who posed a threat to the community. Under Bruen’s historical-tradition test

        — which expressly directs the Court to consider the “comparabl[e] justifi[cations]”

        underlying the modern regulation and its historical analogues, 142 S. Ct. at 2133 —

        § 922(g)(9) is constitutional.

                     c. Section 922(g)(9) is analogous to historical surety laws, which were frequently
                        used to protect abused spouses.

              In addition to the laws discussed above, historical surety laws provide another

        analogue that demonstrates § 922(g)(9)’s constitutionality. At a basic level, surety laws

        imposed protections, sometimes including a restriction on firearm possession, where

        a person was reasonably likely to injure another or to breach the peace.

              In England, a “surety of the peace followed an accusation by someone that an

        individual would likely violate the law in the future.” Young v. Hawaii, 992 F.3d 765,

        791 n.12 (9th Cir. 2021) (en banc), vacated 2022 WL 2347578 (U.S. June 30, 2022).

        As Blackstone explained, “wherever any private man hath just cause to fear, that

        another will burn his house, or do him a corporal injury, by killing, imprisoning, or

        beating him; . . . he may demand surety of the peace against such person.” 4 William

        Blackstone, Commentaries on the Laws of England 252 (1769).
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              This common-law surety practice carried over to the American colonies. For

        example, under a 1759 New Hampshire Act, a justice of the peace could arrest “all

        affrayers, rioters, disturbers or breakers of the peace, or any other who shall go armed

        offensively, or put his Majesty’s subjects in fear, by menaces or threatning speeches.”

        Acts and Laws of His Majesty’s Province of New Hampshire in New England 1 (1759).

        And upon “confession” or “legal proof” of the offense, the justice could, inter alia,

        “cause the arms or weapons so used by the offender, to be taken away which shall be

        forfeited and sold for his Majesty’s use.” Id. at 1-2; see 1 Acts and Resolves, Public and

        Private, of the Province of the Massachusetts Bay 52-53 (1869) (a similarly worded

        1692 statute in the Massachusetts Bay Colony).

              “In the mid-19th century, many jurisdictions [in the United States] began

        adopting surety statutes that required certain individuals to post bond before carrying

        weapons in public.” Bruen, 142 S. Ct. at 2148; see Heller, 554 U.S. at 605 (considering

        “how the Second Amendment was interpreted from immediately after its ratification

        through the end of the 19th century” as a means of determining “the public

        understanding” of the Amendment (emphasis omitted)). Massachusetts was the first

        state to adopt such a statute in 1836. Bruen, 142 S. Ct. at 2148. Under the

        Massachusetts statute, if any person was armed and could not show a special need for

        self-defense, he could “on complaint of any person having reasonable cause to fear an


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        injury, or breach of the peace, be required to find sureties for keeping the peace.”

        Mass. Rev. Stat. ch. 134, § 16 (1836). “Between 1838 and 1871, nine other

        jurisdictions adopted variants of the Massachusetts law.” Bruen, 142 S. Ct. at 2148.

                 The English and early American surety laws are particularly salient here because

        they—and the weapons disabilities they contemplated—were critical tools to address

        nascent societal concerns about domestic violence. Going back to the English

        common-law system, spouses could seek protection from abuse and courts could

        “bind” a dangerous husband “with sureties.” King v. Lord Lee, 83 Eng. Rep. 482 (K.B.

        ca. 1675); 1 Blackstone 432-33.6 And in the United States, certain colonies had

        specific laws against “spouse beating” while early treatises recognized the criminality

        of domestic and spousal violence—explaining that a husband or wife “may institute a

        process against each other, the object of which is to compel them to find securities for

        their good behavior.” See, e.g., Tapping Reeve, The Law of Baron and Femme; of Parent

        and Child; of Guardian and Ward; of Master and Servant; and of the Powers of Courts of


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            See also Lord Leigh’s Case, 84 Eng. Rep. 807 (1674) (the wife “upon affidavit of hard
            usage, and that she went in fear of her life, prayed security of the peace against [her
            husband], which was granted”); Manby v. Scott, 82 Eng. Rep. 1000, 1005 (Ex. 1659)
            (observing that a husband “cannot kill” his wife, “nor can he beat her, for the wife
            can seek the peace”), as translated by Henry Ansgar Kelly, “Rule of the Thumb and
            the Folklaw of the Husband’s Stick,” 44 J. Legal Ed. 341, 354 (1994); Sir Thomas
            Seymor’s Case, 72 Eng. Rep. 966 (K.B. ca. 1615) (“[A] wife can have the peace against
            her husband for unreasonable correction.”), as translated by Kelly, 44 J. Legal Ed. at
            355.
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        Chancery 65-66 (New Haven, Oliver Steele 1816); Carolyn B. Ramsey, “The Stereotyped

        Offender: Domestic Violence and the Failure of Intervention,” 120 Penn. State L. Rev. 337,

        344 (2015); see also State v. Davis, 3 Brev. 5 S.C.L. 3, 4 (S.C. Const. Ct. App. 1811)

        (“It is clear that a wife may demand sureties of the peace against her husband, and so

        may her husband against her.”).

               Section 922(g)(9), then, is simply another step in a long history of efforts to

        afford some measure of legal protection to those at risk of domestic violence. Bruen

        does not require an identical example of historical regulation. Instead, the Supreme

        Court recognized that “the Constitution can, and must, apply to circumstances

        beyond those the Founders specifically anticipated.” Bruen, 142 S. Ct. at 2131. And

        as such, the applicable “analogical reasoning . . . is neither a regulatory straightjacket

        nor a regulatory blank check.” Id. at 2133. It “requires only that the government

        identify a well-established and representative analogue, not a historical twin.” Id.

        (emphasis in original). The historical efforts to provide some measure of statutory or

        common-law protection for those at risk from domestic violence, coupled with the

        lengthy history of proscribing the use and possession of guns by dangerous persons,

        satisfies the test in Bruen—domestic abusers were historically deemed to be dangerous

        and violent individuals, and dangerous and violent individuals have historically been

        subject to restrictions related to firearms.

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                 3. The 5th Circuit’s recent decision in Rahimi invalidating § 922(g)(8) is inapposite.

               In United States v. Rahimi, ___ F.4th ___, 2023 WL 2317796 (5th Cir. 2023),

        the Fifth Circuit invalidated § 922(g)(8)’s disarmament of persons subject to certain

        restraining orders that were entered after a civil proceeding . Even as to § 922(g)(8),

        this case has no binding authority in this Court, and the United States believes the

        case also lacks persuasive value and intends to seek further review. Press Release,

        Office of the Attorney General, Statement from Attorney General Merrick B. Garland

        Regarding          United   States   v.   Rahimi     (Feb.     2,    2023),     available    at

        https://www.justice.gov/opa/pr/statement-attorney-general-merrick-b-garland-regarding-united-

        states-v-rahimi.

               In any event, the Fifth Circuit’s analysis has no application to § 922(g)(9).

        Rahimi distinguished “colonial and state laws disarming categories of ‘disloyal’ or

        ‘unacceptable’ people”—which are presumably part of the Nation’s historical tradition

        of firearm regulation—from Section 922(g)(8) because (1) they disarmed people based

        upon class or group rather than an identified threat to particular potential victims,

        and (2) the purpose of dangerousness laws was the preservation of political and social

        order, not the protection of a single individual. Rahimi, 2023 WL 2317796 at *9. In

        other words, the Fifth Circuit viewed Section 922(g)(8) as overly targeted to the




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        protection of individuals rather than the disarmament of a generally dangerous class

        for the benefit of society.

               Section 922(g)(9), by contrast, operates on a generalized criterion—a qualifying

        conviction—that       disarms    a      broadly    dangerous     class—domestic-violence

        misdemeanants. It accordingly aligns with the categorical (rather than individualized)

        rationale supporting “laws disarming ‘dangerous’ classes of people" for “the

        preservation of political and social order, not the protection of an identified person.”

        Rahimi, 2023 WL 2317796 at *9. Indeed, in his concurrence in Rahimi, Judge Ho

        made clear his view that there is a fundamental distinction between a person convicted

        of domestic violence and a person subject to a domestic violence protective order that

        is significant regarding disarmament under the Second Amendment: “The only way

        to protect the victim may be to detain as well as disarm the violent criminal.” Id. at *15

        (Ho, J., concurring) (emphasis added). While the United States strenuously disagrees

        with the holding in Rahimi, its analysis of § 922(g)(8) is neither persuasive nor relevant

        as to § 922(g)(9).




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                                         CONCLUSION

              This Court should affirm the judgment of the district court.

                                                     Respectfully submitted,

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              1.     This brief complies with the type-volume limitation of Fed. R. App. P.

        32(a)(7)(B) because this brief contains 8603 words, excluding the parts of the brief

        exempted by Fed. R. App. P. 32(f).

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        Date: March 16, 2023




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              I hereby certify that on March 16, 2023, I electronically filed the foregoing

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